DOCUMENTS UNDER SEAL
                     Case 3:21-cr-00091-JSC Document 20 Filed 12/16/21 Page 1 00:03
                                                           TOTAL TIME (m ins):
                                                                               of 1
M AGISTRATE JUDGE                         DEPUTY CLERK                             REPORTER/',*,7$/5(&25',1*
M INUTE ORDER                            Ada Means                                 9:01-9:04
MAGISTRATE JUDGE                          DATE                                     NEW CASE          CASE NUMBER
Jacqueline Scott Corley                   December 16, 2021                                         CR21-0091-JSC-1
                                                     APPEARANCES
DEFENDANT                                  AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.      RET.
Cory John McGilloway                                 Y       NP     Elisse Larouche                        APPT.
U.S. ATTORNEY                              INTERPRETER                           FIN. AFFT               COUNSEL APPT'D
Joseph Tartakovsky                                                               SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR              PARTIAL PAYMENT
                                                                    APPT'D COUNSEL                OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                            STATUS
                                                                                                              TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT              BOND HEARING            IA REV PROB. or            OTHER
                                                                                   or S/R
       DETENTION HRG              ID / REMOV HRG           CHANGE PLEA            PROB. REVOC.                ATTY APPT
                                                                                                              HEARING
                                                    INITIAL APPEARANCE
         ADVISED                ADVISED                   NAME AS CHARGED             TRUE NAME:
         OF RIGHTS              OF CHARGES                IS TRUE NAME
                                                         ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON               READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                 SUBSTANCE
                                                        RELEASE
      RELEASED            ISSUED                    AMT OF SECURITY         SPECIAL NOTES                PASSPORT
      ON O/R              APPEARANCE BOND           $                                                    SURRENDERED
                                                                                                         DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED         RELEASED         DETENTION HEARING              REMANDED
      FOR             SERVICES                                                  AND FORMAL FINDINGS            TO CUSTODY
      DETENTION       REPORT                                                    W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
    CONSENT                     NOT GUILTY                 GUILTY                     GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT             OTHER:
    REPORT ORDERED                                         FILED
                                                         CONTINUANCE
TO:                              ATTY APPT                  BOND                  STATUS RE:
March 3, 2022                    HEARING                    HEARING               CONSENT                  TRIAL SET

AT:                              SUBMIT FINAN.              PRELIMINARY           CHANGE OF               67$786
                                 AFFIDAVIT                  HEARING               PLEA
11:00 a.m.                                                  BBBBBBBBBBBBB
BEFORE HON.                      DETENTION                  $55$,*1MENT           MOTIONS                  JUDGMENT &
                                 HEARING                                                                   SENTENCING
Corley
       TIME W AIVED              TIME EXCLUDABLE            IDENTITY /            PRETRIAL                 PROB/SUP REV.
                                 UNDER 18 § USC             REMOVAL               CONFERENCE               HEARING
                                 3161                       HEARING
                                                 ADDITIONAL PROCEEDINGS
Due to the Covid-19 pandemic, all parties consent to proceed by Zoom videoconference. Defendant did not appear this date as
he is still in custody in LA County. AFPD Larouche reported that the defendant is still waiting for his competency evaluation.
The Court excluded time from this date to March 3, 2022 due to the unavailability of Mr. McGilloway.
                                                                                        DOCUMENT NUMBER:
